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bocarrasco47@outlook.com

From:                Bryce Carrasco <bocarrasco47@outlook.com>
Sent:                Sunday, January 10, 2021 10:46 PM
To:                  Office of the President
Subject:             RE: Correspondence Acknowledgment Email


Hello,

I am reaching out regarding my credit account and request that you lift the minimum payment requirements until all
outstanding investigations are concluded and we have reached a mutual understanding regarding the credit agreement.
I am losing patience with the lack of transparency and misrepresentations made to all 3 credit reporting agencies.
According to my online account dashboard on M&T bank, I have a minimum payment due on the 13th of January for $60,
but I am unable to make payments from my checking account with BofA until the transfer is completed which I just
initiated. The transfer is for 356.08 and is scheduled for completion on January 14th. In anticipation for the hostile
actions from your automated collection system, I request that you suspend minimum payments immediately.

I could easily have opened an account with PNC and would not have to deal with these issues, and I would expect a
more timely response especially since M&T took the initiative to send all 3 credit reporting agencies inaccurate
information regarding my account. This is unacceptable customer service in my view and I hope to receive a response
within 24 hours.

Thank you,

Bryce Carrasco

From: Giangrosso, Cindy <cgiangrosso@mtb.com> On Behalf Of Office of the President
Sent: Thursday, December 31, 2020 1:49 PM
To: 'bocarrasco47@outlook.com' <bocarrasco47@outlook.com>
Subject: Correspondence Acknowledgment Email
Importance: High

Dear Valued Customer:

We’d like to confirm that we have received your correspondence on December 31, 2020, and are currently
researching your concerns with the appropriate area(s) of M&T.

Please know that we will respond to your concerns in writing, by sending you a secure e‐mail to this e‐mail
address. Additionally, as part of our research, we might need to contact you. Should you have any questions in
the meantime, feel free to reply to this e‐mail, officeofthepresident@mtb.com or call us at 716‐635‐4517.

Sincerely,

Voice of the Customer


This email may contain privileged and/or confidential information that is intended solely for the use of the addressee. If
you are not the intended recipient or entity, you are strictly prohibited from disclosing, copying, distributing or using any
of the information contained in the transmission. If you received this communication in error, please contact the sender
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